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 6

 7

 8                                 LTNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WASHINGTON
 9
     BASIN DISPOSAL, INC., A                         No
10   Washington corporati on,
                                                     COMPLAINT FOR
ll                         Plaintiff,                DECLARATORY JUDGMEI\T

12             V

l3   3M COMPANY, a Delaware
     corooratio n: AKZO NOB EL
l4   CA'I{ADA, INC., a foreign
     corporation; BOEING COMPANY, a
l5   Defaware córporation; COLLIER
     CARBON & CFMMICAL
t6   COMPANY, a California
     corooration: CROWN BEVERAGE
t7   PACKAGIÑG, INC., a Delaware
     corooration: DAIMLER TRUCKS
t8   NORTH AIi4ERICA, a Delaware
     limited liabilitv companv;
t9   GEORG IA-PÁ.CIF IC LLC, A

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     COMPLAINT FOR DECLARATORY JUDGMENT- I                               Riddell Williams         P.S
     481 t -6415-7990.02
                                                                         1001 Fourth Avenue, Suite 450
                                                                         Seattle, Washington 98154-119
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 I   COMPANY
                                   )a
 2                                 U PONT
     DE NEMO               and   INC a
 J   Delaware
     INTERNA               AL
 4

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     DEP                   OF
 8   AGRICULTURE; LTNITED STATES
     DEPARTMENT OF TFIE
 9   INTERIOR; ZEP
     MANUFACTURING, a Delaware
t0   corooration: BAYER
     CROPSCIENCE, LP, aDelaware
11   limited oartnership: ADVANCED
     ELECTROPLATNG, INC., A
12   Washington corporation; CARR
     AVIATION CONSULTING
l3
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     COMPLAINT FOR DECLARATORY JUDGMENT- 2                         Riddell Williams P.S
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 1   PIUTE ENERGY AND
     TRANSPORTATION COMPANY, A
 2   Washington corporation;
     PRECISION CÄSTPARTS
 J   CORPORATION, an Oreson
     corporation ; PLIRIIGRO COMPANY,
 4   a California corporation; RHONE-
     POTILENC CHEMICAL
 5   COMPANY, A Delaware
     corooration:'W OOD TREATMENT
 6   CFIEMIC        AL C OMPANY ,a
     Missouri
 7   AGRE                           a Utah

 8

 9
     Washington corporation; and
l0   SOUTF¡WEST SUBUNBEN
     SEWER DISTRICT, a municipal
ll   corooration of the State of
     Wdshington
t2
                         Defendants.
l3
t4
              For its Complaint against Defendants, Plaintiff alleges as follows:
15
                                         NATURE O F ACTION
t6
               1.        This is a civil action for declaralory relief under the Comprehensive
t7
     Environmental Response, Compensation and Liability Act ("CERCL A"), 42
l8
     U.S.C. Chapter 103, and Washington's Model Toxics Control Act ("MTCA"),
19
     Chapter 70.105D RCW.
20
              2.         Plaintiff seeks an order establishing the equitable shares for response
2t
     and remedial action costs incurred, or to be incurred, by Plaintiff and by other past
22
     and future parties in response to releases of hazardous substances at the Pasco
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     Landfill Site (the "Site") in Pasco, Washington.
24

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     COMPLAINT FOR DECLARATORY JUDGMENT.            3                       Riddell Williams         P.S
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 I                                                  PARTIES
 2              l.         Plaintiff Basin Disposal, Inc. is a Washington corporation, and       a

 J   member of the "Landfill Group". Basin has been determined by Ecology to be a

 4   potentially liable party under MTCA for cleaning up the Site.
 5             2,          The "Landfill Group" is an informal group of PLPs that include

 6   Franklin County, the City of Kennewick, BNSF Railway Company, Basin
 7   Disposal, Inc., Pasco Sanitary Landfill, Inc. and Leonard and Glenda Dietrich. The

 8   Landfill Group members are performing parties under Agreed Order No. D89240
 9   issued by Ecology in2012 and under previous Orders issued by Ecology. They

10   have been performing remedial actions under that Order, on an ongoing basis,

ll   largely pertaining to the municipal waste disposal areas at the landfill.
t2             3.          Defendant 3M COMPANY is a Delaware coqporation that has been

13   determined by Ecology to be            a   potentially liable party under MTCA for cleaning

t4   up the Site. 3M Company is a mining and manufacturing company that contracted

l5   to have itshazardous wastes transported to the Site for disposal during the 1970s.

r6             4.          Defendant Akzo Nobel Canada,Inc. is a foreign corporation that has

t7   been determined by Ecology to be a potentially liable party under MTCA for

l8   cleaning up the Site. Akzo Nobel Canada is the successor-in-interest to Canadian

l9   Industries,          Ltd.   Upon information and belief, Canadian Industries manufactured
20   agricultural and industrial chemicals. Canadian Industries contracted to have its
21   hazardous wastes transported to the Site for disposal during the 1970s.

22             5.          Defendant Boeing Company is a Delaware corporation that has been

ZJ   determined by Ecology to be a potentially liable party under MTCA for cleaning

24   up the Site. Boeing designs and manufacturers aerospace equipment in

25   Washington State. Boeing contracted to have wastes from its Auburn, Renton, and

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 I   Seattle plants transported to the Site for disposal during the 1970s. Those wastes

 2   included beryllium, flammable liquid sludge, oils, and oil sludge.

 J            6.        Defendant Collier Carbon   & Chemical Company is a California
 4   corporation that has been determined by Ecology to be              a   potentially liable party

 5   under MTCA for cleaning up the Site. Upon information and belief, Collier

 6   Carbon     & Chemical Company       is a petroleum explorer and marketer. It contracted

 7   to have itshazardous industrial wastes transported to the Site for disposal in the
 8   1970s.

 9            7.        Defendant Crown Beverage Packaging, Inc. is a Delaware corporation

10   that has been determined by Ecology to be a potentially liable party under MTCA

1l   for cleaning up the Site. Upon information and belief, Crown Beverage Packaging,
I2   Inc. is the successor in interest to Crown Cork and Seal Company. Crown Cork
13   manufactured beverage and food cans, and contracted to have its industrial wastes,

l4   including chromium sludge, transported to the Site for disposal during the 1970s.
15            8.        Defendant Daimler Trucks North America is a Delaware limited

16   liability company that has been determined by Ecology to be a potentially liable
17   party under MTCA for cleaning up the Site. Daimler Trucks manufactures

18   commercial vehicles. In connection with those operations, it contracted to have its

l9   hazardous wastes transported to the Site for disposal during the 1970s.

20            9.        Defendant Georgia-Pacific LLC is a Delaware limited liability

21   company that has been determined by Ecology to be a potentially liable party

22   under MTCA for cleaning up the Site. It manufactures tissue, PulP, paper, and

z)   related chemicals. Georgia-Pacific LLC contracted to have itshazardous wastes

24   transported for disposal to the Site during the 1970s. In 1991, there was a

25   significant release of calcium hypochlorite at the Site, which originated from
26   Georgia-Pacific' s disposals.

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 I            10.       Defendant Goodrich Corporation is a New York corporation that has

 2   been determined by Ecology to be a potentially liable parry under        MTCA for

 J   cleaning up the Site. It is a tire and rubber manufacturer. Goodrich contracted to

 4   have itshazardous wastes transported to the Site for disposal.

 5            1   1.    Defendant Intalco Aluminum Corp. is a Delaware corporation that has

 6   been determined by Ecology to be a potentially liable party under MTCA for

 7   cleaning up the Site. It is a manufacturer of aluminum. Intalco contracted to have

 8   itshazardous wastes, including therminol and other industrial solvents, transported

 9   to the Site for disposal in the 1970s.

10            12.       Defendant Monsanto Company is a Delaware corporation that has

11   been determined by Ecology to be a potentially liable parly under        MTCA for

l2   cleaning up the Site. Monsanto manufactures agricultural chemicals. Monsanto

13   contracted to have itshazardous wastes transported to the Site for disposal in the

l4   1970s. Those wastes included Noxtane, vanillin sludge, PCB phosphate-ester and

l5   bright oil waste.
l6            13.       Defendant PACCAR INC. is a Delaware corporation that has been

17   determined by Ecology to be a potentially liable party under MTCA for cleaning

18   up the Site. PACCAR is the successor-in-interest to Pacific Car and Foundry,

19   which was a steel manufacturer. Pacific Car and Foundry contracted to have its
20   hazardous wastes transported to the Site for disposal in the 1970s.

2t            14.       Defendant PCC Structurals, Inc. is an Oregon corporation that has

22   been determined by Ecology to be a potentially liable party under MTCA for

23   cleaning up the Site. It manufactures aluminum and titanium casings. Upon

24   information and belief, it contracted to have itshazardous substances transported to
25   the Site for disposal.

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 1            15.        Defendant Pharmacia Corp. is a Delaware corporation that has been

 2   determined by Ecology to be         a   potentially liable party under MTCA for cleaning

 J   up the Site. It is a pharmaceutical company. Upon information and belief,                  it

 4   contracted to have itshazardous substances transported to the Site for disposal.

 5            16.        Defendant Simpson Timber Company is a Washington corporation

 6   that has been determined by Ecology to be a potentially liable party under MTCA

 7   for cleaning up the Site. Simpson Timber manufactures forest products. It
 8   contracted to have its hazardous wastes transported to the Site for disposal in the

 9   1970s.

10             17.       Defendant Standard Register Company is an Ohio corporation that has

11   been determined by Ecology to be a potentially liable party under               MTCA for

l2   cleaning up the Site. It provides communication services for industrial operations.

13   It contracted to have itshazardous substances transported to the Site for disposal.
t4             18.       Defendant Weyerhaeuser NR Company is a Washington corporation

15   that has been determined by Ecology to be a potentially liable party under MTCA

t6   for cleaning up the Site. It manufactures wood and cellulose fiber products.
     'Weyerhaeuser
tl                         contracted to have itshazardous substances transported to the Site

18   for disposal in the 1970s.
t9             ß.        Defendant Blount, Inc. is a Delaware corporation that has been

20   determined by Ecology to be a potentially liable party under MTCA for cleaning

21   up the Site. Blount is the successor in interest to Omark Industries. Upon

22   information and belief, Omark Industries manufactured chain saws. Omark
ZJ   Industries contracted to have its wastes transported to the Site for disposal in the

24   1970s. The wastes included chromic hydroxic sludge, chrome, iron, zinc,

25   manganese, and nickel.

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     COMPLAINT FOR DECLARATORY JUDGMENT.             7                        Riddell Williams          P.S,
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  1              20.       Defendant E.I. Du Pont De Nemours and Co., Inc. is a Delaware

  2    corporation that has been determined by Ecology to be a potentially liable party

  J    under MTCA for cleaning up the Site. E.I Du Pont manufactures chemicals for use

  4    in a broad range of industrial applications. In connection with those operations, it
  5    contracted to have its wastes transported to the Site for disposal during the 1970s.

  6              21,       Defendant Morton International, Inc. is an Indiana corporation that

  7    has been determined by Ecology to be a potentially liable party under             MTCA for

  8    cleaning up the Site. Upon information and belief, it is the successor-in-interest to

  9    Morton Chemical Company, a chemical manufacturer. Morton Chemical Company
10     contracted to transport its hazardous wastes to the Site for disposal in the 1970s.

ll     Those wastes included pesticides.

l2               22.       Defendant PPG Industries, Inc. is a Pennsylvania corporation that has

r3     been determined by Ecology to be a potentially liable party under MTCA for

l4     cleaning up the Site. PPG manufactures paints, coatings, chemicals, and glass.                  It
l5     contracted to have its wastes transported to the Site for disposal.

l6               23.       Defendant Puget Sound Naval Shipyards has been determined by

l7     Ecology to be a potentially liable party under MTCA for cleaning up the Site. It
18     contracted to have itshazardous wastes transported to the Site for disposal in the

t9     I 970s.

20               24.       Defendant Sandvik Special Metals, LLC is a Delaware corporation

2l     that has been determined by Ecology to be a potentially liable party under MTCA

22     for cleaning up the Site. Sandvik is a tooling, materials technology, and mining
,¿.)   and construction company. Sandvik contracted to have itshazardous industrial

24     wastes transported to the Site for disposal.

25               25.       Defendant United States Air Force has been determined by Ecology to

26     be a potentially liable party under MTCA for cleaning up the Site. It contracted to

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 I   have itshazardous wastes transported to the Site for disposal in the 1970s. Those

 2   wastes included cadmium cyanide, copper cyanide, and sodium cyanide.
 a
 J             26.       Defendant United States Department of Agriculture has been

 4   determined by Ecology to be a potentially liable party under MTCA for cleaning

 5   up the Site. It contracted to have itshazardous wastes, including pesticides and

 6   residues, transported to the Site for disposal in the 1970s.

 7            27.        Defendant United States Department of the Interior has been

 8   determined by Ecology to be a potentially liable party under MTCA for cleaning

 9   up the Site. It contracted to have its wastes transported to the Site for disposal.

10             28.       DefendantZep Manufacturing is a Delaware corporation that has been
11   determined by Ecology to be a potentially liable party under MTCA for cleaning

12   up the Site. Zep is an industrial manufacturing company that contracted to

13   transport itshazardous wastes to the Site for disposal in the 1970s.
t4             29.       Defendant Bayer CropScience, LP is a Delaware limited partnership

15   that has been determined by Ecology to be a potentially liable party under MTCA

t6   for cleaning up the Site. It manufactures agricultural products. It contracted to
17   have itshazardous wastes transported to the Site for disposal.

18            30.        Upon information and belief, Defendant Advanced Electroplating,
19   Inc. is a Washington corporation, which performed electroplating operations, and
20   contracted to have itshazardous wastes transported to the Site for disposal.

2t   Advanced Electropl atinghas been determined by Ecology to be a potentially liable

22   party under MTCA for cleaning up the Site.

23             31.       DefendantCarr Aviation Consulting Services, Inc. is a Washington

24   corporation. Upon information and belief, Carr Aviation Consulting Services is
25   the successor-in-interest fo Carr Aviation, Inc., an aviation manufacturer that has

26   been determined by Ecology to be a potentially liable party under MTCA for

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 1   cleaning up the Site. Carr Aviation, Inc. contracted to have itshazardous wastes,

 2   including pesticides, transported to the Site for disposal.
 J               32.         Upon information and belief, Defendant Columbia Processor Co-op is
 4   a Washington corporation. Columbia                 Processor Co-op has been determined by

 5   Ecology to be a potentially liable party under MTCA for cleaning up the Site. It
 6   contracted to have hazardous wastes, including cadmium, transported to the Site

 7   for disposal.
 I               33.         Upon information and belief, Defendant D.G. Shelter Products
 9   Company is              a California corporation. It has been determined by Ecology to be a
10   potentially liable party under MTCA for cleaning up the Site. D.G. Shelter
11   Products contracted to have itshazardous industrial wastes, including solvents,

12   transported to the Site for disposal.

13               34.         Upon information and belief, Defendant DiGiorgio Corporation is a
t4   Washington corporation. It has been determined by Ecology to be a potentially

l5   liable party under MTCA for cleaning up the Site. DiGiorgio Cooperation
t6   contracted to have itshazardous industrial wastes, including solvents, transported

I7   to the Site for disposal.

18               35.         Upon information and belief,, Freightliner Corporation is a Delaware
t9   corporation. It has been determined by Ecology to be a potentially liable party
20   under MTCA for cleaning up the Site. Freightliner contracted to have its

2t   hazardous industrial wastes, including solvents, trânsported to the Site for disposal.

22               36.         upon information and belief, Defendant Fuller-O'Brien Corporation
23   is   a   Washington corporation. It has been determined by Ecology to be a

24   potentially liable party under MTCA for cleaning up the Site. Fuller-O'Brien
25   contracted to have itshazardous industrial wastes, including waste paint,

26   transported to the Site for disposal.

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 I             37.        Upon information and belief, Defendant Glidden Corporation is a
 2   Delaware corporation. It has been determined by Ecology to be a potentially liable

 J   parfy under MTCA for cleaning up the Site. Glidden contracted to have its

 4   hazardous industrial wastes, including waste paint and glue, transported to the Site

 5   for disposal.
 6             38.        Upon information and belief, Defendant Harbor Distributing
 7   Company is           a Oregon corporation. It has been   determined by Ecology to be a

 I   potentially liable party under MTCA for cleaning up the Site. Harbor Distributing
 9   contracted to have itshazardous industrial wastes, including waste paint and glue,

10   transported to the Site for disposal.

11             39.        Upon information and belief, Defendant Harbor Oil, Inc. is a Oregon
t2   corporation. It has been determined by Ecology to be a potentially liable party
13   under MTCA for cleaning up the Site. Harbor Oil contracted to have its hazardous

t4   industrial wastes, including waste paint and glue, transported to the Site for
15   disposal.

r6             40.        (Jpon information and belief, Defendant Hearin Products, Inc. is a

17   Oregon corporation. It has been determined by Ecology to be a potentially liable

18   party under MTCA for cleaning up the Site. Hearin Products contracted to have its

19   hazardous wastes, including solvents, transported to the Site for disposal.

20             41.        Upon information and belief, Defendant HUICO is     a   Washington

21   corporation. It has been determined by Ecology to be a potentially liable party
22   under MTCA for cleaning up the Site. HUICO contracted to have its hazardous

23   wastes, including solvents, transported to the Site for disposal.

24             42.        Upon information and belief, Defendant James River Corporation is a
25   Alabama corporation. It has been determined by Ecology to be a potentially liable

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 1   parfy under MTCA for cleaning up the Site. James River contracted to have its

 2   hazardous wastes transported to the Site for disposal.
 a
 J             43.       IJpon information and belief, Defendant Kalama Chemical, Inc. is a

 4   V/ashington corporation. It has been determined by Ecology to be a potentially

 5   liable party under MTCA for cleaning up the Site. Kalama Chemical contracted to
 6   have itshazardous wastes, includingtar, transported to the Site for disposal.
 7             44.       Upon information and belief, Defendant Liquid Waste Disposal, Inc.
 8   is   a Washington corporation. It has been determined by Ecology to be a
 9   potentially liable party under MTCA for cleaning up the Site. Liquid Waste
10   Disposal contracted to have itshazardous wastes transported to the Site for
11   disposal.

t2             45.       Upon information and belief, Defendant Northwest VIP Corp. is a
l3   Oregon corporation. It has been determined by Ecology to be a potentially liable

l4   par|y under MTCA for cleaning up the Site. Northwest VIP contracted to have its

l5   hazardous wastes transported to the Site for disposal.

t6             46.       Defendant Piute Energy and Transportation Company is a Washington

l7   Corporation. Upon information and belief, Piute Energy and Transportation
t8   Company is the successor-in-interest to Pacific Inland Navigation Company, who
t9   has been determined by Ecology to be a potentially liable party under           MTCA for

20   cleaning up the Site. Pacific Inland contracted to have its hazardous wastes,

21   including contaminated oil and sludge, transported to the Site for disposal.
22             47.       Defendant Precision Castparts Corporation is an Oregon corporation

z)   that has been determined by Ecology to be a potentially liable parly under MTCA

24   for cleaning up the Site. Precision Castparts is an industrial goods and metal
25   fabrication company that manufactures castings and forged components. It
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 I   contracted to have itshazardous wastes, including nitric acid and hydrochloric

 2   acid, transported to the Site for disposal.

 J             48.        Defendant PureGro Company is a California corporation that has

 4   been determined by Ecology to be a potentially liable parfy under MTCA for

 5   cleaning up the Site. PureGro is an agricultural and horticultural resource

 6   company. It contracted to have itshazardous wastes transported to the Site for
 7   disposal.

 8             49.       Upon information and belief, Defendant Rhone-Poulenc Chemical
 9   Company is          a Delaware colporation. It has been determined by Ecology to be a
t0   potentially liable party under MTCA for cleaning up the Site. Rhone-Poulenc
11   contracted to have ifshazardous wastes transported to the Site for disposal.

I2            50.        Upon information and belief, Defendant Wood Treatment Chemical
13   Company is          a Missouri corporation. It has been      determined by Ecology to be a

l4   potentially liable parly under MTCA for cleaning up the Site. It contracted to have
15   itshazardous wastes transported to the Site for disposal.

t6            51.        Defendant Agreserves, Inc. is a Utah corporation. Upon information

t7   and belief, it contracted to have itshazardous wastes transported to the Site for

l8   disposal.

I9             52.       Defendant chemed corp. is a Delaware corporation. upon

20   information and belief, it contracted to have itshazardous wastes transported to the
21   Site for disposal.

22            53.        Defendant Farmland Reserve, Inc. is a Utah corporation. Upon

23   information and belief, it contracted to have itshazardous wastes transported to the
24   Site for disposal.

25

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 I            54.       Defendant Hoffman Corporation is a Washington corporation. Upon

 2   information and belief, it contracted to have itshazardous wastes transported to the
 a
 J   Site for disposal.

 4            55.       Defendant Southwest Suburban Sewer District is a municipal

 5   corporation of the State of Washington. IJpon information and belief, it contracted

 6   to have itshazardous wastes transported to the Site for disposal.

 7                                   JURISDICTIO N AND VENUE
 I            56. This Court has jurisdiction over this action and the Defendants under
 9   42rJ.S.C. $ 9613(b) and 28 U.S.C. $ 1331.
10            57.       Venue is proper in this District under 42 U.S.C. $ 9613(b), 28 U.S.C.

11   $ 1391(b), and because the claims arose in this District and releases of hazardous
l2   substances occurred in this District.

l3                                    FACTUAL BA CKGROI]NI)
t4            58.       In   1958, the Franklin County Planning commission authorizedthe

15   establishment and operation of a garbage disposal facility at the Site. The facility

t6   was operated as a burn dump until 1971, when it was converted to a sanitary

17   landfill.
18            59.       Defendants arranged to have their industrial wastes transported to the

19   Site for disposal from approximately        l97t to 1974. Drummed      wastes were buried,

20   and bulk liquids were discharged to waste "lagoons" and evaporated or infiltrated

2t   into the ground. The area where these wastes were placed is referred to as the

22   Industrial Waste Area, and is divided into Five Zones: A, B, C, D, and E.
23            60.       The industrial waste lagoons and drum disposal sites were operated at

24   the disposal facility through at least the end    of   1974. During that three year period,

25   approxim arely 35,000 drums of mixed organic and inorganic industrial wastes,

26   5,000 drums of chlorinated herbicide manufacturing wastes, 3,000,000 gallons                of
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 I   non-containerized industrial wastes, and 11,000 tons of chlor-alkali sludge and

 2   carbon electrode wastes were placed in Zones A through E.

 J              61.       Much of the industrial wastes at the Site were generated by the
 4   Defendants in the process of their business operations. The Defendants arranged to

 5   have those wastes transported to and disposed of at the Site. Those wastes have

 6   resulted in releases of hazardous substances at the Site.

 7             62.        The Defendants knew or should have known of the risks associated

 8   wilhhazardous waste disposal at the Pasco Landfill.
 9              63.       The Defendants knew or should have known of the risks              of
l0 transportinghazardous waste to the Site without sufficient controls to protect
11   against a release into the environment.

t2             64.        Certain of the Defendants were intimately involved in the processes

13   that caused the release of a significant amount of extremely toxic substances at the

l4   Site.

15              65.       The Defendants failed to exercise reasonable care when they arranged

16   to have their wastes transported to and disposed of at the Site.

t7              66.       In   1990, the Site was listed as a National Priority    List ("NPL"¡ site by
18   the United States Environmental Protection Agency ("EPA"), based on the

t9   hazardous substances in the Site media, including groundwater.

20             67.        Ecology was established as the lead agency for the cleanup
2I   investigations and remedial actions taken at the Site pursuant to an agreement with

22   EPA regarding site management and supervision of the implementation of a
L)   remedy under CERCLA and MTCA.

24             68. ln 1992, a group of potentially liable parties ("PLPs") started a Phase
25   I Remedial Investigation ("RI") to develop information on the nature and extent of
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 1   contamination in the soil, soil gas, and groundwater near potential contaminant

 2   sources at the Site.

 J             69.      The Phase I RI confirmed the presence of site-related contamination

 4   in soil, soil gas, and groundwater at levels exceeding then applicable cleanup levels
 5   under MTCA.

 6            70.       In November 1994, Ecology ordered certain PLPs to perform a Phase

 7   II RI and Feasibility Study (FS) to further define       and characterize the source,

 8   nature, degree, and extent of contamination at the Site.

 9            71.       The Phase   II RI Report confirmed thathazardous    substances had been

10   "released" to the environment, within the meaning of RCW 70.105D.020(20). The

11   FS was completed and accepted as final by Ecology in Octobet 1999.

12            72.       In ensuing years, Plaintiff executed an Agreed Order with Ecology,
13   most recently updated and amended in 2012, under which Plaintiff is responsible

t4   for performing remedial measures at the Site.
l5            73.       Plaintiff has incurred, and continues to incur, substantial costs in
t6   connection with these activities.

t7            74.       Interim Remedial Measures taken at the site include installation,
18   testing, and operation of a soil vapor extraction (SVE) system and groundwater

t9   treatment system. Further actions have been taken, including installation              of
20   engineered landfill caps, removal of drums, institutional controls implementation,

2t   and expansion of and upgrades to systems in place.

22            75.       Plaintiff continues to diligently perform its obligations under the
ZJ   Agreed Order in good faith.

24            76.       Defendant 3M COMPANY knew or should have known about the

25   appropriate handling process and the industry standards for the proper disposal                of
26   hazardous substances.

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 1             77.       Defendant 3M COMPANY failed to comply with the appropriate

 2   handling process and the industry standards for proper disposal of hazardous

 J   substances.

 4             78.       Defendant Akzo Nobel Canada,Inc. knew or should have known

 5   about the appropriate handling process and the industry standards for the proper

 6   disposal of hazardous substances.

 7             79.       Defendant Akzo Nobel Canada,Inc. failed to comply with the
 8   appropriate handling process and the industry standards for proper disposal            of
 9   hazardous substances.

10             80.       Defendant Boeing Company knew or should have known about the

11   appropriate handling process and the industry standards for the proper disposal             of
12   hazardous substances.

13             81.       Defendant Boeing Company failed to comply with the appropriate

t4   handling process and the industry standards for proper disposal of hazardous

15   substances.

16             82.       Defendant Collier Carbon   & Chemical Company knew or should have
17   known about the appropriate handling process and the industry standards for the
18   proper disposal of hazardous substances.

19             83.       Defendant Collier Carbon   & Chemical Company failed to comply
20   with the appropriate handling process and the industry standards for proper
2t   disposal of hazardous substances.

22             84.       Defendant Crown Beverage Packaging, Inc. knew or should have

23   known about the appropriate handling process and the industry standards for the
24   proper disposal of hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- I7                               Riddell Williams        P.S
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 I            85.       Defendant Crown Beverage Packaging, Inc. failed to comply with the

 2   appropriate handling process and the industry standards for proper disposal           of
 J   hazardous substances.

 4            86.       Defendant Daimler Trucks North America knew or should have

 5   known about the appropriate handling process and the industry standards for the
 6   proper disposal of hazardous substances.

 7            87.       Defendant Daimler Trucks North America failed to comply with the

 8   appropriate handling process and the industry standards for proper disposal           of
 9   hazardous substances.

l0            88.       Defendant Georgia-Pacific LLC knew or should have known about

11   the appropriate handling process and the industry standards for the proper disposal

t2   of hazardous substances.
13            89.       Defendant Georgia-Pacific LLC failed to comply with the appropriate

14   handling process and the industry standards for proper disposal of hazardous

l5   substances.

T6            90.       Defendant Goodrich Corporation knew or should have known about

t7   the appropriate handling process and the industry standards for the proper disposal

18   of hazardous substances.
t9            91.       Defendant Goodrich Corporation failed to comply with the

20   appropriate handling process and the industry standards for proper disposal           of
2l   hazardous substances.

22            92.       Defendant Intalco Aluminum Corp. knew or should have known about

23   the appropriate handling process and the industry standards for the proper disposal

24   of hazar dous substance      s.

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     COMPLAINT FOR DECLARATORY JUDGMENT- I8                             Riddell Williams P.S
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 1              93.        Defendant Intalco Aluminum Corp. failed to comply with the

 2   appropriate handling process and the industry standards for proper disposal              of
 J   hazardous substances.

 4              94.        Defendant Monsanto Company knew or should have known about the

 5   appropriate handling process and the industry standards for the proper disposal               of
 6   hazardous substances.

 7              95.        Defendant Monsanto Company failed to comply with the appropriate

 I   handling process and the industry standards for proper disposal of hazardous

 9   substances.

l0              96.        Defendant PACCAR INC. knew or should have known about the

l1   appropriate handling process and the industry standards for the proper disposal               of
l2   hazardous substances.

l3              97   .     Defendant PACCAR INC. failed to comply with the appropriate

l4 handling process and the industry standards for proper disposal of hazardous
15   substances.

t6              98.        Defendant PCC Structurals, Inc. knew or should have known about

t7   the appropriate handling process and the industry standards for the proper disposal

l8   of hazardous substances.
l9              gg.        Defendant PCC Structurals, Inc. failed to comply with the appropriate

20   handling process and the industry standards for proper disposal of hazardous

2I   substances.

22              100. Defendant        Pharmacia Corp. knew or should have known about the

23   appropriate handling process and the industry standards for the proper disposal               of
24   hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- I9                                Riddell Williams         P.S
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 I               101. Defendant Pharmacia Corp. failed to comply with the appropriate
 2   handling process and the industry standards for proper disposal of hazardous

 J   substances.

 4               102. Defendant   Simpson Timber Company knew or should have known

 5   about the appropriate handling process and the industry standards for the proper

 6   disposal of hazardous substances.

 7               103. Defendant   Simpson Timber Company failed to comply with the

 8   appropriate handling process and the industry standards for proper disposal          of
 9   hazardous substances.

10               104. Defendant   Standard Register Company knew or should have known

11   about the appropriate handling process and the industry standards for the proper

12   disposal of hazardous substances.

l3               105. Defendant   Standard Register Company failed to comply with the

I4   appropriate handling process and the industry standards for proper disposal          of
15   hazardous substances.

16              106. Defendant    Weyerhaeuser NR Company knew or should have known

t7   about the appropriate handling process and the industry standards for the proper

t8   disposal of hazardous substances.

t9               107. Defendant   Weyerhaeuser NR Company failed to comply with the

20   appropriate handling process and the industry standards for proper disposal          of
2l   hazardous substances.

22              108. Defendant Blount, Inc. knew or should    have known about the

23   appropriate handling process and the industry standards for the proper disposal           of
24   hazardous substances.

25              109. Defendant Blount, Inc. failed to comply with the appropriate handling
26   process and the industry standards for proper disposal of hazardous substances.

     COMPLAINT FOR DECLARATORY JUDGMENT- 20                            Riddell Williams         P.S
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                                                                                         206.624.3601
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 1             110. Defendant E.I. Du Pont Nemours             and Co., Inc. knew or should have

 2   known about the appropriate handling process and the industry standards for the
 J   proper disposal of hazardous substances.

 4             I   11.   Defendant E,.I. Du Pont Nemours and Co., Inc. failed to comply with

 5   the appropriate handling process and the industry standards for proper disposal                   of
 6   hazardous substances.

 7             ll2.      Defendant Morton International, Inc. knew or should have known

 I   about the appropriate handling process and the industry standards for the proper

 9   disposal of hazardous substances.

10             113. Defendant Morton International, Inc. failed to comply with              the

11   appropriate handling process and the industry standards for proper disposal                  of
t2   hazardous substances.

13             ll4.      Defendant PPG Industries, Inc. knew or should have known about the

t4   appropriate handling process and the industry standards for the proper disposal                   of
15   hazardous substances.

16             115. Defendant      PPG Industries, Inc. failed to comply with the appropriate

17   handling process and the industry standards for proper disposal of hazardous

18   substances.

t9             116. Defendant      Puget Sound Naval Shipyards knew or should have known

20   about the appropriate handling process and the industry standards for the proper

2l   disposal of hazardous substances.

22             Il7.      Defendant Puget Sound Naval Shipyards failed to comply with the

23   appropriate handling process and the industry standards for proper disposal                  of
24   hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT-            21                        Riddell Williams         P.S
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 1              118. Defendant Sandvik       Special Metals, LLC knew or should have known

 2   about the appropriate handling process and the industry standards for the proper
 a
 J   disposal of hazardous substances.

 4              Il9.      Defendant Sandvik Special Metals, LLC failed to comply with the

 5   appropriate handling process and the industry standards for proper disposal               of
 6   hazardous substances.

 7              120. Defendant United       States   Air Force knew or should have known about
 8   the appropriate handling process and the industry standards for the proper disposal

 9   of hazardous substances.
10              l2l.      Defendant United States Air Force failed to comply with the

11   appropriate handling process and the industry standards for proper disposal               of
t2   hazardous substances.

13              122. Defendant United       States Department of Agriculture knew or should

t4   have known about the appropriate handling process and the industry standards for

l5   the proper disposal of hazardous substances.

16              123. Defendant United       States Department of Agriculture failed to comply

17   with the appropriate handling process and the industry standards for proper
18   disposal of hazardous substances.

t9              124. Defendant United       States Department of the Interior knew or should

20   have known about the appropriate handling process and the industry standards for

21   the proper disposal of hazardous substances.

22              125. Defendant United       States Department of the    Interior failed to comply
23   with the appropriate handling process and the industry standards for proper
24   disposal of hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- 22                                 Riddell Williams        P.S
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 1                126. Defendanf Zep Manufacturing knew or should                 have known about the

 2   appropriate handling process and the industry standards for the proper disposal                       of
 J   hazardous substances.

 4               I27.        DefendantZep Manufacturing failed to comply with the appropriate
 5   handling process and the industry standards for proper disposal of hazardous
 6   substances.

 7                128. Defendant Bayer       CropScience, LP knew or should have known about

 8   the appropriate handling process and the industry standards for the proper disposal

 9   of hazar dous sub stance         s.

10               129. Defendant Bayer        CropScience, LP failed to comply with the

11   appropriate handling process and the industry standards for proper disposal                      of
t2   hazardous substances.

13               130. Defendant Advanced Electroplating, Inc. knew or should have known
t4   about the appropriate handling process and the industry standards for the proper

15   disposal of hazardous substances.

l6               13   1. Defendant Advanced Electroplating, Inc. failed to comply with the
17   appropriate handling process and the industry standards for proper disposal                      of
l8   hazardous substances.

t9               132. DefendantCan Aviation Consulting                Services, Inc. knew or should

20   have known about the appropriate handling process and the industry standards for

2I   the proper disposal ofhazardous substances.

22               133. DefendantCarc Aviation Consulting               Services,   Inc. failed to comply
23   with the appropriate handling process and the industry standards for proper
24   disposal of hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT-                23                         Riddell Williams         P.S
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 1             134. Defendant Columbia        Processer Co-op knew or should have known

 2   about the appropriate handling process and the industry standards for the proper
 a
 J   disposal of hazardous substances.

 4             135. Defendant Columbia        Processer Co-op failed to comply with the

 5   appropriate handling process and the industry standards for proper disposal            of
 6   hazardous substances.

 7             136. Defendant D.G.       Shelter Products Company knew or should have

 I   known about the appropriate handling process and the industry standards for the
 9   proper disposal of hazardous substances.

10             137. Defendant D.G. Shelter      Products Company failed to comply with the

lt   appropriate handling process and the industry standards for proper disposal            of
l2   hazatdous substances.

13             138. Defendant DiGiorgio Corporation knew or should have known                about

I4   the appropriate handling process and the industry standards for the proper disposal

15   of hazar dous       sub stance s.

16             139. Defendant DiGiorgio Corporation failed to comply with the
t7   appropriate handling process and the industry standards for proper disposal            of
18   hazardous substances.

T9             140. Defendant Freightliner Corporation knew or should         have known about

20   the appropriate handling process and the industry standards for the proper disposal

2t   of hazar dous substances.
22             l4I.      Defendant Freightliner Corporation failed to comply with the

¿3   appropriate handling process and the industry standards for proper disposal            of
24   hazardovs substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- 24                               Riddell Williams         P.S
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 1              142. Defendant Fuller-O'Brien Corporation knew or should                have known

 2   about the appropriate handling process and the industry standards for the proper

 J   disposal of hazar dous substances.

 4              I43.      Defendant Fuller-O'Brien Corporation failed to comply with the

 5   appropriate handling process and the industry standards for proper disposal                   of
 6   hazatdous substances.

 7              I44.      Defendant Glidden Corporation knew or should have known about the

 8   appropriate handling process and the industry standards for the proper disposal                    of
 9   hazardous substances.

l0              145. Defendant Glidden Corporation failed to comply with the appropriate
l1   handling process and the industry standards for proper disposal of hazardous
l2   substances.

l3              146. Defendant Harbor Distributing Company knew or should                   have known

14   about the appropriate handling process and the industry standards for the proper

15   disposal of hazardous substances.

16              147. Defendant Harbor Distributing Company failed to comply with the
t7   appropriate handling process and the industry standards for proper disposal                   of
18   hazardous substances.

19              148. Defendant Harbor Oil, Inc. knew or should             have known about the

20   appropriate handling process and the industry standards for the proper disposal                    of
21   hazardous substances.

22              149. Defendant Harbor Oil, Inc. failed to comply with the appropriate
23   handling process and the industry standards for proper disposal of hazardous
24   substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT-             25                         Riddell Williams P.S
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 1              150. Defendant Hearin    Products, Inc. knew or should have known about

 2   the appropriate handling process and the industry standards for the proper disposal
 a
 J   of hazar dous substances.
 4             151. Defendant Hearin     Products, Inc. failed to comply with the appropriate

 5   handling process and the industry standards for proper disposal of hazardous

 6   substances.

 7             I52.      Defendant HUICO knew or should have known about the appropriate

 8   handling process and the industry standards for the proper disposal of hazardous
 9   substances.

l0             153. Defendant HUICO failed to comply with the appropriate handling
l1   process and the industry standards for proper disposal of hazardous substances.

t2              154. Defendant James River Corporation knew or should have known
T3   about the appropriate handling process and the industry standards for the proper

14   disposal of hazardous substances.

l5             155. Defendant James River Corporation failed to comply with the
t6   appropriate handling process and the industry standards for proper disposal           of
l7   hazardous substances.

18              156. Defendant Kalama Chemical, Inc. knew or should have known about
I9   the appropriate handling process and the industry standards for the proper disposal

20   of hazar dous substances.
2t             157. Defendant Kalama Chemical, Inc. failed to comply with the
22   appropriate handling process and the industry standards for proper disposal           of
23   hazardous substances.

24             158. Defendant Liquid     Waste Disposal, Inc. knew or should have known

25   about the appropriate handling process and the industry standards for the proper

26   disposal of hazardous substances.

     COMPLAINT FOR DECLARATORY JUDGMENT- 26                             Riddell Williams P.S
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 1              159. Defendant Liquid      Waste Disposal, Inc. failed to comply with the

 2   appropriate handling process and the industry standards for proper disposal             of
 a
 J   hazardous substances.

 4              160. Defendant Northwest VIP Corp.knew or should have known about
 5   the appropriate handling process and the industry standards for the proper disposal

 6   of hazar dous       sub stance s.

 7              161. Defendant Northwest VIP Co.p. failed to comply with the appropriate
 8   handling process and the industry standards for proper disposal of hazardous
 9   substances.

l0              162. Defendant Piute Energy      and Transportation Company knew or should

11   have known about the appropriate handling process and the industry standards for

l2   the proper disposal of hazardous substances.

l3              163. Defendant Piute Energy      and Transportation Company failed to

t4   comply with the appropriate handling process and the industry standards for proper
15   disposal of hazardous substances.

l6              164. Defendant Precision     Castparts Corporation knew or should have

t7   known about the appropriate handling process and the industry standards for the
18   proper disposal of hazardous substances.

I9              165. Defendant Precision     Castparts Corporation failed to comply with the

20   appropriate handling process and the industry standards for proper disposal             of
2l   hazardous substances.

22             166. Defendant PureGro Company knew or should            have known about the

z)   appropriate handling process and the industry standards for the proper disposal              of
24   hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- 27                               Riddell Williams          P.S
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 I              167. Defendant PureGro Company failed to comply with the appropriate
 2   handling process and the industry standards for proper disposal of hazardous
 a
 J   substances.

 4             168. Defendant Rhone-Poulenc Chemical           Company knew or should have

 5   known about the appropriate handling process and the industry standards for the
 6   proper disposal of hazardous substances.

 7             169. Defendant Rhone-Poulenc Chemical Company failed to comply with
 8   the appropriate handling process and the industry standards for proper disposal              of
 9   hazardous substances.

10             170. Defendant Wood Treatment Chemical           Company knew or should have

11   known about the appropriate handling process and the industry standards for the
t2   proper disposal of hazardous substances.

13             l7l.      Defendant Wood Treatment Chemical Company failed to comply with

t4   the appropriate handling process and the industry standards for proper disposal              of
l5   hazardous substances.

r6             172. Defendant       Agreserves, Inc. knew or should have known about the

t7   appropriate handling process and the industry standards for the proper disposal              of
18   hazardous substances.

t9             I73.      Defendant Agreserves, Inc. failed to comply with the appropriate

20   handling process and the industry standards for proper disposal of hazardous

2I   substances.

22             174. Defendant       Chemed Corp.knew or should have known about the

23   appropriate handling process and the industry standards for the proper disposal              of
24   hazardous substances.

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     COMPLAINT FOR DECLARATORY JUDGMENT- 28                               Riddell Williams         P.S
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 I              175. Defendant            Chemed Corp. failed to comply with the appropriate

 2   handling process and the industry standards for proper disposal of hazardous
 a
 J   substances.

 4             176. Defendant Farmland Reserve, Inc. knew or should               have known about

 5   the appropriate handling process and the industry standards for the proper disposal

 6   of hazardous substances.
 7             177. Defendant Farmland Reserve, Inc. failed to comply with the
 8   appropriate handling process and the industry standards for proper disposal                  of
 9   hazardous substances.

10             178. Defendant Hoffman Corporation knew or should                have known about

11   the appropriate handling process and the industry standards for the proper disposal

t2   of hazar dous       sub stanc   e   s.

t3             179. Defendant Hoffman Corporation failed to comply with the appropriate
t4   handling process and the industry standards for proper disposal of hazardous

15   substances.

t6             180. Defendant            Southwest Suburban Sewer District knew or should have

17   known about the appropriate handling process and the industry standards for the
18   proper disposal of hazardous substances.

19             181. Defendant            Southwest Suburban Sewer District failed to comply with

20   the appropriate handling process and the industry standards for proper disposal                   of
2I   hazardous substances.

22             182. The PLPs have yet to determine their            respective percentage of liability

23   for those clean-up costs.
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     COMPLAINT FOR DECLARATORY JUDGMENT- 29                                    Riddell Williams         P.S
     48n -6415-7990.02                                                         1001 Fourth Avenue, Suite 450
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 I                                    FIRST CLAIM FOR RELIEF
 2                                 Declaratory Judgment: CERCLA
 J              183.     Paragraphs   I through   182 are realleged and incorporated herein by

 4   reference.

 5              184. The Pasco Landfill      Site is a "facility" within the meaning of 42 U.S.C.

 6   $ e601(e).
 7              185. Hazardous substances         as defined by 42 U.S.C. $ 9601(14) were

 8   released at the facility and into the environment by the actions of the Defendants.

 9              186. The Defendants are liable as owners, operators, transporters, andlor
10   alrangers under 42U.5.C. $ 9607(a), for hazardous substances disposed at the Site

l1   that were released into the environment.

T2              187.     The Defendants' releases caused Plaintiff and other PLPs to incur

13   response costs, and continue to cause Plaintiff and other PLPs to incur response

T4   costs, as defined by 42 U.S.C. $ 9601(25).

15              188. The remedies performed         (and to be performed) at the Site, and the

16   response costs incurred (and to be incurred) by Plaintiff are under agreements with

t7   Ecology and are consistent with the National Contingency Plan.
18              189. There is a present    and justiciable controversy between      Plaintiff and
I9   Defendants relating to liability and afair apportionment of past and future response

20   costs relating to the release of hazardous substances at the Site.

2t              190. Under     28 U.S.C. ç2201et seq., and 42 U.S.C. $ 9613,        Plaintiff
22   requests and is entitled to a declaratory judgment that the Defendants are liable

23   parties under CERCLA , 42 U.S.C. $ 9607(a), with respect to releases of hazardous

24   substances at the Site, and to an equitable allocation of past and future response

25   costs as between Plaintiff and Defendants, including an allocation of past and

26   future response costs attributed to any "orphan entities."

     COMPLAINT FOR DECLARATORY JUDGMENT- 30                                 Riddell Williams         P.S
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 I                                   SECOND CLAIM FOR RELIEF
 2                                    Declaratory Judgment: MTCA
 J              191.      Paragraphs 1 through 190 are realleged and incorporated herein by

 4   reference.

 5              I92.      The Pasco Landfill is a "facility" within the meaning of RCV/

 6   70.10sD.020(8).

 7              I93.      Hazardous substances as defined by RCW 70.105D.020(13) were

 8   released by the actions of the Defendants.

 9              194. The Defendants are liable as owners, operators, transporters, andlor
10   arrangers under RCW 70. 105D.040( 1), for hazardous substances disposed of at the

11   Site that were released into the environment.

t2              195. The Defendants'       releases caused Plaintiff and other PLPs to incur

l3   remedial action costs, and continue to cause Plaintiff and other PLPs to incur

t4   remedial action costs, as defined by RCW 70.105D.020(33).
l5              196. The remedial      actions performed (and to be performed) at the Site, and

r6   the remedial action costs incurred (and to be incurred) by Plaintiff are under

t7   agreements with Ecology and are therefore department-supervised remedial actions

18   under RCW 70.105D.080.

19              197. There is a present    and justiciable controversy between            Plaintiff and
20   Defendants relating to liability and a fair apportionment of past and future remedial

2t   action costs relating to the release of hazardous substances at the Site.

22             198. Under RCV/ 70.105D.080               and Chapter 7.24PICW, Plaintiff requests

23   and is entitled to a declaratory judgment that the Defendants are liable parties

24   under MTCA, RCV/ 70.105D.040, with respect to releases of hazardous substances

25   at the Site, and to an equitable allocation of past and future remedial action costs as

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     COMPLAINT FOR DECLARATORY JUDGMENT.             3   I                        Riddell Williams         P.S
     48lt-6415-'7990.02                                                           1001 Fourth Avenue, Suite 450
                                                                                  Seattle, wash¡ngton 98154-119
                                                                                                    206.624.360
         Case 4:15-cv-05078-SMJ          ECF No. 1        filed 08/05/15   PageID.32 Page 32 of 33




 1   between Plaintiff and Defendants, including an allocation of past and future

 2   remedial action costs attributed to any "orphan entities."

 J                                       PRAYER FOR RELIEF
 4             WFIEREFORE, Plaintiff respectfully requests the following relief:

 5              1.       Enter adeclaratory judgmentunder 42U.5.C. $ 9601 et seq.,28
 6   U.S.C. ç 2201 et seq., and 42 U.S.C. $ 9613 that the Defendants are liable                  as

 7   owners, operators, transporters, and/or affangers under 42 U.S.C. $ 9607(a) for

 8   hazardous substances disposed at the Site that were released into the environment,

 9   and that       Plaintiff is entitled to an equitable allocation as between Plaintiff and
l0   Defendants of necessary response costs incurred, or to be incurred, in response to

11   the release ofhazardous substances at the Site.

t2             2.        Enter a declaratory judgment under RCW 70.105D.080 and Chapter

13   7   .24 PICW that the Defendants are liable under RCW 70.105D.040 for hazardous

14   substances disposed at the Site that were released into the environment, and that

15   Plaintiff is entitled to an equitable allocation as between Plaintiff and Defendants
t6   of remedial action costs incurred or to be incurred in response to the release of
t7   hazardous substances at the Site.

18             3.        An award of reasonable attorneys' fees and costs, should Plaintiff be
t9   ruled a prevailing party under RCW 70.105D.080.
20             4.        Grant such other and further relief as the Court deems just and proper.

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     COMPLAINT FOR DECLARATORY JUDGMENT-             32                        Riddell Williams         P.S
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               DATED this   5th   day of August, 2015.
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 J                                         RIDDELL WLLIAMS P.S.
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 5                                         By
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                                                Attorneys for Plaintiff Basin Disposal, Inc.
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     COMPLAINT FOR DECLARATORY JUDGMENT-           33                               Riddell Williams         P.S,
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